Case 18-71778-wlh   Doc 55   Filed 07/03/19 Entered 07/03/19 14:54:18   Desc Main
                             Document      Page 1 of 5
Case 18-71778-wlh   Doc 55   Filed 07/03/19 Entered 07/03/19 14:54:18   Desc Main
                             Document      Page 2 of 5
Case 18-71778-wlh   Doc 55   Filed 07/03/19 Entered 07/03/19 14:54:18   Desc Main
                             Document      Page 3 of 5
Case 18-71778-wlh   Doc 55   Filed 07/03/19 Entered 07/03/19 14:54:18   Desc Main
                             Document      Page 4 of 5
Case 18-71778-wlh   Doc 55   Filed 07/03/19 Entered 07/03/19 14:54:18   Desc Main
                             Document      Page 5 of 5
